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                                                                      FILED
                                                               2024 Dec 31 AM 8:01
                                                                    CLERK
 Russell Greer                                                U.S. DISTRICT COURT
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 Las Vegas, NV 89169
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 Pro Se Litigant



                       IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF UTAH



 RUSSELL GREER                              PLAINTIFF’S MOTION FOR LEAVE TO
                                             FILE FIRST AMENDED COMPLAINT
        Plaintiff
                                                 Case No.: 2:24-cv-00421-DBB-JCB
 v.

 JOSHUA MOON ET AL,

        Defendants




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        Plaintiff Russell Greer comes now and says

                                            INTRODUCTION

        On 11-18-24, a scheduling conference was held via Zoom.

        The agreed upon date to file amended pleadings was 12-31-24.

                   MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        Although the 10th Circuit in the appeal of this case stated that since Plaintiff pled a

 plausible claim of contributory copyright, they didn’t reach or rule on the District Court denying

 his motion to amend in 2021, Plaintiff seeks leave to amend this Complaint to add various

 provisions that will greatly help the Complaint. The proposed added provisions are as follows:

    1. Adding two John Does as additional defendants: (1) for direct infringement and (2) state

        civil conspiracy claims, which is Counts 3-5 in the proposed amended complaint.

    2. Adding a second claim of contributory copyright infringement against Lolcow LLC.

        Previously, the claims against Moon and Kiwi Farms were lumped together. The

        amended complaint adds two separate claims against Moon and Lolcow LLC since Moon

        has revealed that Lolcow LLC is Doing Business As Kiwi Farms, hence why Defendants

        asked to have Lolcow LLC be substituted as a party, instead of Kiwi Farms.

    3. All of the state tort claims against Moon and Lolcow LLC have been removed.

    4. A lot of irrelevant information — fluff, if you will — has been removed.

    5. The contributory copyright infringement claims have been fleshed out and are more

        coherent, whereas the original copyright claim was a short, jumbled few paragraphs,

        which although the 10th Circuit ruled Greer stated a plausible claim for copyright

        infringement, Greer felt it was important to tidy up and strengthen the copyright claim.

        (paragraphs 85-122).




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          If the Court accepts the proposed amended complaint and its proposed changes, as

 attached in EXHIBIT A, Greer would kindly ask the Court direct the Court Clerk to file the

 proposed amended complaint.

                                            Conclusion

       Plaintiff submits the proposed amended complaint as Exhibit A. If leave is granted,

 Plaintiff kindly asks for the Court to direct the Court Clerk to file the proposed amended

 complaint.

 Respectfully

 DATED: December 31st, 2024

 Russell Greer

 /rgreer/

 Pro Se




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                                CERTIFICATE OF SERVICE:

 Pursuant to FRCP 5(b), I certify that on December 31st, 2024, I served a true and correct
 copy of the attached document by email to all attorneys on record




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                                 EXHIBIT A




                                      5
